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 1   Pierce Bainbridge Beck Price & Hecht LLP
     Kathryn Lee Boyd (SBN 189496)
 2   lboyd@piercebainbridge.com
     355 S. Grand Ave 44th Floor
 3
     Los Angeles, California 90071
 4   Telephone: (213) 262-9333

 5   David L. Hecht (admitted pro hac vice)
     dhecht@piercebainbridge.com
 6   277 Park Ave. 45th Floor
     New York, New York 10172
 7   Telephone: (212) 484-9866
     Attorneys for Plaintiff
 8

 9
                                 UNITED STATES DISTRICT COURT
10                             NORTHERN DISTRICT OF CALIFORNIA

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      Social Technologies LLC,
12                                                      No. 18-cv-05945-VC (SK)
                Plaintiff,
13
                                                        NOTICE OF CHANGE IN COUNSEL
14        v.

15    Apple Inc.,
16              Defendant.
17

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               TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD AND TO THE
19
     CLERK OF THE COURT:
20

21             Plaintiff hereby gives notice that Melody L. McGowin, who previously entered her

22   appearance in this case, is leaving Pierce Bainbridge Beck Price & Hecht LLP. For this reason,

23   Plaintiff respectfully requests that Ms. McGowin’s appearance in this action be withdrawn.
24             Plaintiff continues to be represented by Kathryn Lee Boyd and David L. Hecht of Pierce
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     Bainbridge Beck Price & Hecht LLP.
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                                        Notice of Change in Counsel
                                            3:18-CV-05945-VC
              Case 3:18-cv-05945-VC Document 172 Filed 03/30/20 Page 2 of 2




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     Dated: March 30, 2020                      Respectfully submitted,
 2
                                                PIERCE BAINBRIDGE BECK
 3                                              PRICE & HECHT LLP

 4                                              /s/ David L. Hecht

 5                                              Kathryn Lee Boyd
                                                lboyd@piercebainbridge.com
 6                                              355 S. Grand Ave. 44th Floor
                                                Los Angeles, CA 90071
 7
                                                David L. Hecht (admitted pro hac vice)
 8                                              dhecht@piercebainbridge.com
                                                277 Park Avenue, 45th Floor
 9                                              New York, New York 10172

10                                              Attorney for Plaintiff Social
                                                Technologies LLC
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                                Notice of Change in Counsel
                                    3:18-CV-05945-VC
